         Case 3:21-cv-00242-WBV-SDJ              Document 111-3     11/08/21 Page 1 of 30




                                    UNITED STATES DISTRICT COURT
                                FOR THE MIDDLE DISTRICT OF LOUISIANA

    ABBY OWENS, ET AL                                 :   CIVIL ACTION NO. 3:21-cv-00242
                                                      :
                                    Plaintiff,
                                                      :
                                                      :   JUDGE WENDY B. VITTER
    VERSUS
                                                      :
                                                      :
    LOUISIANA STATE UNIVERSITY, ET AL                 :   MAG. JUDGE SCOTT D. JOHNSON
                                   Defendants.        :


                       MEMORANDUM IN SUPPORT OF
           “O” THE FINCH BOYZ’S MOTION TO DISMISS PURSUANT TO
                             RULE TO 12(b)(6)

MAY IT PLEASE THE COURT:

          Defendant, “O” The Rosy Finch Boyz, LLC (“Finch Boyz”), submits this Memorandum

in Support of its Motion to Dismiss Pursuant to Rule 12(b)(6) in response to Plaintiffs’ Amended

Class Action Complaint and Jury Demand (R. Doc. 22) (“Amended Complaint”). For the reasons

more fully set forth below, all purported causes of action in the Amended Complaint should be

dismissed against Finch Boyz.

I.        INTRODUCTION

          The Amended Complaint is 145 pages and contains 589 paragraphs, plus subparts. In

addition to the Amended Complaint, the Plaintiffs have filed Plaintiffs’ Louisiana Racketeering

Act Case Statement (the “LRA Statement”)(R. Doc. 103). The LRA Statement is an additional 66

pages. Despite the length of the Plaintiffs’ recitation of its various claims, there is a total dearth

of factual allegations regarding Finch Boyz or any actions or inactions attributed to Finch Boyz.

          Finch Boyz is identified in the Complaint as a limited liability company owned by Edward

James Orgeron (hereinafter “Orgeron”) and Kelly L. Orgeron.1 Finch Boyz’s only alleged


1
    Amended Complaint at ¶37.
                                                                                            2197466.v1
         Case 3:21-cv-00242-WBV-SDJ                   Document 111-3           11/08/21 Page 2 of 30




relationship/involvement with LSU is through a contract for services entered with LSU on March

17, 2017. The contract is relative to LSU’s hiring of Orgeron as LSU’s head football coach,

whereby Finch Boyz agreed to furnish the services of Orgeron in connection with “promoting,

appearing on, or participating in … LSU-sanctioned television, radio, social media, and internet

programs concerning LSU and the Program.” (R. Doc. 22-2, pages, 6-8). There are no other

substantive factual allegations regarding Finch Boyz that pertain, in any way, to the claims in the

instant litigation.

           The implausibility of the claims against Finch Boyz is apparent even from a cursory review

of the Amended Complaint. Specifically, the Plaintiffs’ claims are primarily claims for violations

of Title IX of the Educational Amendments of 1972, 20 U.S.C. §§ 1681, et seq. (the “Title IX

Claims”). The Title IX Claims are the crux of Counts I, II, III, IV, and V in the Amended

Complaint. However, Finch Boyz is specifically excluded from the Title IX Claims and is not a

defendant under Counts I, II, III, IV and V.2 Instead, through conclusory statements and shotgun

pleading, Finch Boyz is joined as a defendant in this litigation although no cognizable cause of

action has been stated against it. For the reasons set forth herein, all claims against Finch Boyz

should be dismissed.

II.        RULE 12(B)(6) MOTION TO DISMISS STANDARD

           Rule 8(a)(2) of the Federal Rules of Civil Procedure governs the pleading requirements to

state a claim for relief. A pleading must contain “a short and plain statement of the claim showing

that the pleader is entitled to relief.” Fed. Rule Civ. Proc. 8(a)(2). The standard for the adequacy

of complaints under Rule 8(a)(2) is one of “plausibility.”3 Under this standard, “factual allegations

must be enough to raise a right to relief above the speculative level ... on the assumption that all




2
    The instant motion addresses those Counts where Finch Boyz is identified as a defendant.
3
    Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S. Ct. 1955 (2007).
                                                           2                                     2197466.v1
       Case 3:21-cv-00242-WBV-SDJ                    Document 111-3            11/08/21 Page 3 of 30




the allegations in the complaint are true (even if doubtful in fact).” Id. at 555–56, 127 S. Ct. at

1965. If a pleading only contains “labels and conclusions” and “a formulaic recitation of the

elements of a cause of action,” the pleading does not meet the standards of Rule 8(a)(2).4 The

Court does not accept as true “conclusory allegations, unwarranted factual inferences, or legal

conclusions.”5

         In conjunction with Rule 8, Federal Rule of Civil Procedure 12(b)(6) allows parties to seek

dismissal of a party’s pleading for failure to state a claim upon which relief may be granted. A

court does not evaluate a plaintiff’s likelihood for success, but instead determines whether a

plaintiff has pleaded a legally cognizable claim. See Thompson v. City of Waco, Tex., 764 F.3d

500, 503 (5th Cir. 2014). The Court must accept all factual allegations in the complaint as true and

draw all reasonable inferences in the plaintiff’s favor.6 However, the foregoing tenet is inapplicable

to legal conclusions.7 Thread-bare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.8

         Courts considering a motion to dismiss under Rule 12(b)(6) are only obligated to allow

those complaints that are facially plausible under the Iqbal and Twombly standard to survive such

a motion.9 If the complaint does not meet this standard, it can be dismissed. See id. Such a dismissal

ends the case “at the point of minimum expenditure of time and money by the parties and the

court.” Twombly, 550 U.S. at 558.




4
  Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 1949 (2009) (citation omitted).
5
  Id. (quoting Plotkin v. IP Axess, Inc., 407 F.3d 690, 696 (5th Cir. 2005)).
6
  Lormand v. US Unwired, Inc., 565 F.3d 228, 232 (5th Cir. 2009) (citing Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
551 U.S. 308, 127 S.Ct. 2499, 168 L.Ed.2d 179 (2007); Lovick v. Ritemoney, Ltd., 378 F.3d 433, 437 (5th Cir. 2004)).
7
  Iqbal, 129 S. Ct. at 1949.
8
  Id. (citing Twombly, 550 U.S. at 555).
9
  See Iqbal, 556 U.S. at 678–79, 129 S. Ct. at 1949.
                                                          3                                                2197466.v1
       Case 3:21-cv-00242-WBV-SDJ                       Document 111-3             11/08/21 Page 4 of 30




         Plaintiffs’ Amended Complaint and LRA Statement are hornbook examples of “thread-

bare recitals of the elements of a cause of action, supported by mere conclusory statements.” All

claims asserted against Finch Boyz should be dismissed, with prejudice.

III.     COUNTS XII-XV – PLAINTIFFS’ TORT CLAIMS

         A. Plaintiffs’ Complaint Fails to State a Claim for Negligence Against Finch Boyz

         Plaintiffs assert various negligence claims against Finch Boyz under Louisiana Civil Code

article 2315 (Count XII – General Negligence; Count XIII – Negligent Supervision; and Count

XIV – Negligent Infliction of Emotional Distress).10 Under Louisiana law, to establish negligence

of any kind, a plaintiff must prove five separate elements:

                   (1) the existence of a duty to conform one's behavior to a specific standard;

                   (2) the defendant failed to conform to that duty;

                   (3) the conduct was a cause in fact of the plaintiff's injuries;

                   (4) the conduct was a legal cause of the plaintiff's injuries; and

                   (5) that actual damages resulted.11

         Here, even the most favorable reading of the Amended Complaint demonstrates

unequivocally that Plaintiffs have failed to state any claim for negligence against Finch Boyz.

More specifically, there are no facts pled that would establish any duty on the part of Finch Boyz

to any Plaintiff, nor are there any facts pled that would establish that Finch Boyz acted, or failed




10
   Plaintiffs’ also reference La. C.C. art. 2030 in relation to their tort claims; however, that article governs the absolute
nullity of contracts. It is unclear what article 2030 has to do with any negligence claims. To the extent Plaintiffs
intended to reference La. C.C. art. 2320, which governs vicarious liability (the liability of a master/employer for
damage occasioned by their servants/employees), there is no basis for any such claims against Finch Boyz, as Plaintiffs
have failed to plead any facts that would support a claim for vicarious liability against Finch Boyz. Plaintiffs have
not alleged Finch Boyz is responsible for negligent acts of agents or employees, or even that Finch Boyz has any
agents or employees.
11
   Roberts v. Benoit, 605 So.2d 1032, 1051 (La.1991), on reh'g (May 28, 1992); Hood v. Water Treatment & Controls
Co., CV 16-235-SDD-RLB, 2017 WL 343897, at *2 (M.D. La. Jan. 23, 2017); Webb v. Wells Fargo Home Mortgage,
Inc., CV 18-1076-JWD-SDJ, 2020 WL 5836730, at *4 (M.D. La. Sept. 15, 2020), report and recommendation
adopted, CV 18-1076-JWD-SDJ, 2020 WL 5824018 (M.D. La. Sept. 30, 2020).
                                                             4                                                   2197466.v1
      Case 3:21-cv-00242-WBV-SDJ              Document 111-3        11/08/21 Page 5 of 30




to act, in a manner that caused injury to Plaintiffs. Indeed, Plaintiffs’ negligence claims do not

contain a specific reference to any alleged duty, action, inaction, or conduct by Finch Boyz.

       In paragraph 481 of the complaint, for instance, as part of Plaintiffs’ general negligence

claims (Count XII), Plaintiffs specify therein that “LSU Defendants and the Individual Defendants

in their personal capacities” owed certain duties of reasonable care to Plaintiffs. Then, in

paragraph 482, Plaintiffs identify a specific duty of reasonable care on the part of defendant, TAF.

There is, however, no corresponding paragraph regarding an alleged duty of reasonable care on

the part of Finch Boyz. (R. Doc. 22, page 117, ¶ 483). Similarly, with respect to Plaintiffs’ claims

for negligent supervision (Count XIII), there is no allegation that Finch Boyz attempted,

undertook, or even owed a duty, to supervise any person(s) at LSU. (R. Doc. 22, pages 119-120).

Nor is there any specific allegation of a duty, or breach of a duty, on the part of Finch Boyz as it

relates to plaintiffs’ negligent infliction of emotional distress claims (Count IX). (R. Doc. 22,

pages 121-122).

       Ultimately, in the 500+ paragraphs of Plaintiffs’ complaint, there is not one allegation of

an affirmative act by Finch Boyz that would support any negligence claim (whether general

negligence, negligent supervision, or negligent infliction of emotional distress). The lack of any

allegations specific to Finch Boyz is not surprising; however, given the nature of its limited

contractual relationship with LSU and its lack of involvement with respect to the administration

of the university, the athletic department, or the football team. Indeed, Finch Boyz’s only alleged

relationship with LSU is through the contract referenced, supra, and attached to the Amended

Complaint as Exhibit B. (R. Doc. 22-2). There are no other duties or responsibilities on the part

of Finch Boyz set forth in that contract. (R. Doc. 22-2, p. 3-5).

       There is simply no factual allegation contained within Plaintiffs’ complaint sufficient to

state a cause of action for any kind of negligence against Finch Boyz. Plaintiffs’ conclusory

                                                  5                                       2197466.v1
      Case 3:21-cv-00242-WBV-SDJ              Document 111-3        11/08/21 Page 6 of 30




allegations that “All Defendants” were negligent and caused injury to Plaintiffs is insufficient to

state a cause of action for negligence as to Finch Boyz. See, Hood, supra (“Plaintiffs’ boiler plate

pleading fails to specify a duty owed by [defendant] under Louisiana statutory] or jurisprudential

law. Plaintiffs’ failure to allege any specific duty owed, other than the conclusory allegation that

[defendant’s] alleged actions violated the entire body of Louisiana State and Ascension Parish law,

is the exact type of “conclusory” pleading that the United States Supreme Court specifically held

could not survive a 12(b)(6) motion to dismiss.”). Accordingly, Plaintiffs have failed to state any

claim for negligence against Finch Boyz, and those claims must be dismissed under FRCP

12(b)(6).

       B.      Plaintiffs’ Complaint Fails to State a Claim for Intentional Infliction of
               Emotional Distress Against Finch Boyz

       Plaintiffs also assert a claim for intentional infliction of emotional distress (Count XV).

However, like with Plaintiffs’ negligence claims, while Plaintiffs assert this claim against “All

Defendants”, there are no allegations specific to Finch Boyz.

       To recover on a claim for intentional infliction of emotional distress, a plaintiff must

establish (1) that the conduct of the defendant was extreme and outrageous; (2) that the emotional

distress suffered by the plaintiff was severe; and (3) that the defendant desired to inflict severe

emotional distress or knew that severe emotional distress would be certain or substantially certain

to result from his conduct. White v. Monsanto Co., 585 So.2d 1205, 1209 (La.1991). For the same

reasons provided above relative to Plaintiffs’ negligence claims, Plaintiffs have also failed to state

a claim for intentional infliction of emotional distress.

       Certainly, where Plaintiffs have not alleged any specific action or inaction of any kind on

the part of Finch Boyz, Plaintiffs have also not alleged any facts to support a claim that Finch Boyz

acted in an extreme or outrageous manner such that it intended/desired to cause emotional distress

and harm to Plaintiffs. Accordingly, Plaintiffs have failed to state any claim for intentional
                                                  6                                         2197466.v1
       Case 3:21-cv-00242-WBV-SDJ                   Document 111-3            11/08/21 Page 7 of 30




infliction of emotional distress against Finch Boyz, and those claims must be dismissed under

FRCP 12(b)(6).

        C.       Plaintiffs’ Tort Claims Against Finch Boyz are Prescribed

        Under Louisiana law, the prescriptive period for delictual actions, such as the instant

claims, is one year. La. C.C. art. 3492. The one-year prescriptive period commences to run from

the day injury or damage is sustained. Id.; Carter v. Matrixx Initiatives, Inc., 391 Fed.Appx. 343,

345 (5th Cir.2010). Damage is sustained within the meaning of Louisiana Civil Code article 3492

“when it has manifested itself with sufficient certainty to support accrual of a cause of action.”12

        Prescription may be raised in a Rule 12(b)(6) motion to dismiss.13 A prescriptive defense

supports dismissal under 12(b)(6) “where it is evident from the plaintiff's pleadings that the action

is barred and the pleadings fail to raise some basis for tolling or the like.”14

        For all the reasons discussed above (i.e., the lack of any alleged facts supporting the

existence of a duty or a breach thereof on the part of Finch Boyz), Finch Boyz maintains that

Plaintiffs have failed to state a delictual claim of any kind against it. Additionally, Finch Boyz

submits here that any such claims (to the extent they exist) are also time-barred.

        The original complaint in this matter was filed on April 26, 2021. As shown below, while

none of the Plaintiffs make any specific allegations as to Finch Boyz, all of the alleged injury-

causing tortious activity described by Plaintiffs occurred well before a year prior to filing of the

complaint:

                Calise Richardson – Alleged injury causing conduct from the fall of 2014 through
                 the fall of 2018 (R. Doc. 22, pages 26-37);


12
   Cormier v. Singh, CV 17-1103-BAJ-EWD, 2019 WL 3024661, at *2 (M.D. La. June 17, 2019), report and
recommendation adopted, CV 17-1103-BAJ-EWD, 2019 WL 3022194 (M.D. La. July 10, 2019).
13
   See Tigert v. Am. Airlines Inc., 390 Fed.Appx. 357 (5th Cir. 2010) (affirming dismissal of time-barred claim under
12(b)(6)).
14
   Jones v. Alcoa, Inc., 339 F.3d 359, 366 (5th Cir. 2003); Anderson v. City of New Orleans, No. CIV.A. 03-3010,
2004 WL 1396325, at *3 (E.D. La. June 18, 2004) (“A complaint is subject to dismissal for failure to state a claim
upon which relief can be granted if the prescriptive period has run.”).
                                                         7                                                2197466.v1
      Case 3:21-cv-00242-WBV-SDJ                 Document 111-3          11/08/21 Page 8 of 30




               Ashlyn Robertson – Alleged injury causing conduct from January 2016 through
                January 2018 (R. Doc. 22, pages 37-41);

               Samantha Brennan – Alleged injury causing conduct from July 2016 through the
                fall of 2016 (R. Doc. 22, pages 41-43);

               Abby Owens – Alleged injury causing conduct from June 2016 through May 22,
                2019 (R. Doc. 22, pages 45-47);

               Elisabeth Andres – Alleged injury causing conduct from October 2016 through
                October of 2019 (R. Doc. 22, pages 48-56);

               Jade Lewis – Alleged injury causing conduct from January 2017 through the fall of
                2018 (R. Doc. 22, pages 56-65);

               Kenan Johnson – Alleged injury causing conduct from the fall of 2017 through the
                spring of 2019 (R. Doc. 22, pages 65-70);

               Jane Doe – Alleged injury causing conduct from October 2018 through December
                2019 (R. Doc. 22, pages 70-75);

               Corinn Hovis – Alleged injury causing conduct in January of 2020 (R. Doc. 22,
                pages 75-77); and

               Sarah Kitch – Alleged injury causing conduct from 2009 through 2014 (R. Doc. 22,
                pages 79-81).

        Because all of the injury causing conduct alleged by the named Plaintiffs occurred prior to

April of 2020, each of the Plaintiffs’ tort claims against Finch Boyz were prescribed prior to the

filing of the original complaint on April 26, 2021. Thus, not only have the Plaintiffs failed to plead

the facts necessary to assert any claims against Finch Boyz for either negligence or intentional

infliction of emotional distress, those claims are also time-barred and must be dismissed.

IV.     COUNT XVI – BAD FAITH BREACH OF CONTRACT

        In Count XVI, Plaintiffs assert bad faith breach of contract claims against several

defendants, including the “Orgeron Defendants15” which includes, by Plaintiffs’ definition, Finch




15
 The “Orgeron Defendants” is a defined term in the Amended Complaint and includes Edward J. Orgeron and Finch
Boyz, collectively.
                                                     8                                             2197466.v1
      Case 3:21-cv-00242-WBV-SDJ              Document 111-3        11/08/21 Page 9 of 30




Boyz. Plaintiffs, however, do not identify any agreement or contract that creates obligations in

favor of Plaintiffs to which Finch Boyz is a party.

       Plaintiffs’ complaint describes Defendant LSU’s Code of Student Conduct, Sexual

Harassment Policy, Title IX Policy, and Equal Opportunity Policy as agreements which they

contend set forth contractual obligations to all students at LSU, including Plaintiffs. (R. Doc. 22,

pages 124-126). There is no corresponding allegation, however, that any of those policies apply

to Finch Boyz. Again, as explained herein above, Finch Boyz’s only contract with LSU is the

March 17, 2017 contract relative to LSU’s hiring of Orgeron as LSU’s head football coach.

Pursuant to that agreement, Finch Boyz merely agreed to furnish the services of Orgeron in

connection with LSU-sanctioned television, radio, social media, and internet programs. There are

no other duties or responsibilities on the part of Finch Boyz set forth in that contract.

       Finch Boyz’s obligations under the contract are owed exclusively to LSU, not LSU’s

students. As such, even if Finch Boyz breached its contract with LSU (which it did not), that could

not serve as the basis for any breach of contract claim by Plaintiffs in this matter.

       Contrary to Plaintiffs’ unsupported and conclusory allegations, at no time has Finch Boyz

ever operated in any official capacity as an employee of LSU. Plaintiffs’ attempt to lump Finch

Boyz in with Plaintiffs’ claims against Orgeron by simply referring to “the Orgeron Defendants”

is not supported by Finch Boyz’s contract with LSU, nor is it supported by Louisiana law. See La.

C.C. art. 24; Ogea v. Merritt, 13–1085 (La.12/10/13), 130 So.3d 888, 894–95 (Under Louisiana

law, a limited liability company and its members are considered as being wholly separate persons.).

       Simply put, Plaintiffs have failed to plead the existence of an agreement or contract that

has been breached by Finch Boyz to Plaintiffs’ detriment. As such, Plaintiffs’ complaint fails to

state a claim for bad faith breach of contract as to Finch Boyz, and those claims must be dismissed.




                                                  9                                         2197466.v1
      Case 3:21-cv-00242-WBV-SDJ                    Document 111-3            11/08/21 Page 10 of 30




V.       COUNTS VI-VIII – PLAINTIFFS’ 42 U.S.C. § 1983 CLAIMS

         A.       Plaintiffs’ Amended Complaint Fails to Allege Section 1983 Liability by a
                  Private Company

         In Counts VI-VIII, Plaintiffs’ allege that Finch Boyz shares Section 1983 liability with the

“LSU Defendants” and the “Individual Defendants” because “[a]t all relevant times, . . . “O” The

Rosy Finch Boyz, LLC are willful participants acting jointly with the other defendants in a

conspiracy, the object of which was understood by all to be the deprivation of Plaintiffs’

constitutional rights.” (R. Doc. 22 at ¶¶ 424, 434, 442). This canned and conclusory language is

repeated verbatim in each of the referenced paragraphs. Such conclusionary allegations are mere

“labels and conclusions,” which do not meet the pleading standards of Rule 8(a)(2).

         Section 1983 imposes liability upon any person who, acting under color of state law,

deprives another of federally protected rights.16 Alone, Section 1983 does not create any federally

protected right, but it provides a cause of action for individuals to enforce federal rights created

elsewhere, such as other federal statutes or the Constitution.17

         To assert a claim for damages under this statute, a plaintiff must demonstrate (1) a

deprivation of a right secured by federal law, (2) that occurred under color of state law, and (3)

was caused by a state actor. Victoria W. v. Larpenter, 369 F.3d 475, 482 (5th Cir. 2004). “[T]he

under-color-of-state-law element of § 1983 excludes from its reach merely private conduct, no

matter how discriminatory or wrongful.”18 Thus, the general rule is that private companies or

individuals “are not considered to act under color of law, i.e., are not considered state

actors.”19 However, a private company or citizen may be held liable under Section 1983 if that



16
   Minnis v. Bd. of Sup'rs of Louisiana State Univ. & Agric. & Mech. Coll., 972 F.Supp.2d 878, 883 (M.D. La.2013).
17
   Chapman v. Houston Welfare Rights Org., 441 U.S. 600, 608, 99 S.Ct. 1905, 60 L.Ed.2d 508 (1979) (Section 1983
“creates no substantive rights; it merely provides remedies for deprivations of rights established elsewhere.”).
18
   Am. Mfrs. Mut. Ins., Co. v. Sullivan, 526 U.S. 40, 49–50, 119 S.Ct. 977, 143 L.Ed.2d 130 (1999) (internal quotation
marks and citation omitted); Costanza v. Tchefuncte Harbour Ass'n, Inc., 31 F.Supp.3d 849, 854 (E.D. La.2014).
19
   Ballard v. Wall, 413 F.3d 510, 518 (5th Cir.2005).
                                                         10                                                2197466.v1
      Case 3:21-cv-00242-WBV-SDJ                  Document 111-3          11/08/21 Page 11 of 30




citizen conspired with or acted in concert with state actors; the private citizen must be a “willful

participant in joint activity with the State or its agents.”20 This test generally requires a plaintiff to

allege a conspiracy between the private party and the state official or entity.21 Here, the Plaintiffs

have plead the labels of their purported claims, but none of the requisite facts.

        Specifically, the Plaintiff must allege: (1) an agreement between the private and public

defendants to commit an illegal act and (2) a deprivation of constitutional rights.22 The focus of

the inquiry into whether a private actor can be subjected to constitutional liability is whether “such

a close nexus between the State and the challenged action” exists “that seemingly private behavior

may be fairly treated as that of the State itself.”23 Whether the conduct of private parties is state

action depends upon the specific facts and circumstances surrounding the challenged action.24

Allegations that are merely conclusory, without reference to specific facts, will not suffice.25

        Here, the complaint provides only conclusory allegations and does not state a single

specific factual allegation establishing that Finch Boyz conspired with a “state actor” to commit

an illegal act. Further, Plaintiffs fail to establish causation; that is, there are no facts which support

a causal connection between Finch Boyz and the unsupported deprivation of Plaintiffs’ rights.

        Count VI of Plaintiffs’ complaint alleges that Finch Boyz “willfully participated” in a

conspiracy with the LSU Defendants to violate the Plaintiffs’ First Amendment rights due to

retaliation in response to protected speech. (R. Doc. 22 at ¶ 424). However, Plaintiffs have not

alleged specific facts supporting Finch Boyz’ purported participation in such retaliation; that is

because there are no such facts.


20
   See Priester v. Lowndes County, 354 F.3d 414, 420 (5th Cir.2004) (citations omitted).
21
   See, e.g., Hey v. Irving, 161 F .3d 7 (5th Cir.1998); Hobbs v. Hawkins, 968 F.2d 471, 480 (5th Cir.1992).
22
   Cinel v. Connick, 15 F.3d 1338, 1343 (5th Cir.1994).
23
   Brentwood Acad. v. Tennessee Secondary Sch. Athletic Assoc., 531 U.S. 288, 295, 121 S.Ct. 924, 148 L.Ed.2d 807
(2001) (internal quotation omitted).
24
   Albright v. Longview Police Dept. 884 F.2d 835, 838 (5th Cir.1989) (citations omitted).
25
   Brinkmann v. Johnston, 793 F.2d 111, 113 (5th Cir.1986); Priester v. Lowndes County, 354 F.3d 414, 420 (5th
Cir.2004).
                                                       11                                             2197466.v1
      Case 3:21-cv-00242-WBV-SDJ                     Document 111-3             11/08/21 Page 12 of 30




         Under Counts VII and VIII, the Plaintiffs further allege that Finch Boyz conspired to

deprive them of their rights to equal protection and due process under the Fourteenth Amendment.

(R. Doc. 22 at ¶¶ 434, 442). In the 500+ paragraph Amended Complaint, the Plaintiffs do not

specifically set forth any “joint activity” with any state actors by Finch Boyz.

         Under each Section 1983 claim, Plaintiffs make the same conclusory allegation that Finch

Boyz “are willful participants acting jointly with the other defendants in a conspiracy, the object

of which was understood by all to be the deprivation of Plaintiffs’ constitutional rights.” (R. Doc.

22 at ¶¶ 424, 434, 442). The Amended Complaint, however, does not impute any identifiable

actions to Finch Boyz.26

         Therefore, the Plaintiffs have not alleged a conspiracy between Finch Boyz and any state

official or entity sufficient to plausibly plead liability under Section 1983 for a private company.

         B.       Plaintiffs’ Claims of First Amendment Retaliation Are Not Adequately Pled
                  Against Finch Boyz

         In Paragraph 424 of the Amended Complaint, Plaintiffs’ allege violations of 42 U.S.C. §

1983 “due to retaliation in response to protected speech,” and again allege that Finch Boyz “is a

“willful participant[s] acting jointly with the other defendants in a conspiracy, the object of which

was understood by all to be the deprivation of Plaintiffs’ constitutional rights.” There are no other

allegations against Finch Boyz with respect to the First Amendment claims.

         As a general rule, adverse government action taken in retaliation for the exercise of

protected speech violates the First Amendment.27 A “plaintiff must cross a certain threshold of

harm before she can bring a claim for First Amendment retaliation.” Id. at 513, n. 8. Mere false


26
   To the extent Plaintiffs attempt to impute the actions of Edward James Orgeron, Jr., owner of Finch Boyz, onto
Finch Boyz, such imputation is violative of the Louisiana rules on limited liability companies. The LLC is a distinct
legal entity (juridical person) separate and apart from its members. La. C.C. art. 24; La. R.S. 12:1303; Ogea v. Merritt,
2013-1085 (La. 12/10/13), 130 So. 3d 888, 894 (as a general proposition, the law considers an LLC and the member(s)
comprising the LLC, as being wholly separate persons).
27
   See Colson v. Grohman, 174 F.3d 498 (5th Cir.1999); Matherne v. Larpenter, 54 F.Supp.2d 684, 687 (E.D.
La.1999), aff'd, 216 F.3d 1079 (5th Cir.2000).
                                                          12                                                 2197466.v1
     Case 3:21-cv-00242-WBV-SDJ              Document 111-3        11/08/21 Page 13 of 30




accusations in retaliation for protected free speech do not give rise to a constitutional deprivation

for purposes of the First Amendment. Id. at 510–12. “[R]etaliatory criticisms, investigations, and

false accusations that do not lead to some more tangible adverse action are not actionable under §

1983.” Id. at 513.

        In this case, Plaintiffs allege that LSU and other purported state actors, in an attempt “to

regulate the content of Plaintiffs’ speech by chilling an ordinary person from reporting sexual

misconduct or voicing concerns about LSU’s handling of student sexual misconduct and Title IX

complaints” committed the following actions, inter alia, “failing to seriously investigate and/or

appropriately report allegations of sexual abuse and/or misconduct; dismissing, laughing at, and/or

shaming Plaintiffs when confiding in Defendants about their experiences of sexual misconduct;

telling Plaintiffs’ teammates to avoid them after they reported sexual misconduct; telling students

they made the right choice in not reporting; and funding insufficient training on reporting rights of

students.” (R. Doc. 22 at ¶ 427). None of these actions specifically involve, or even mention, Finch

Boyz.

        The Amended Complaint does not explain what role Finch Boyz allegedly played in the

challenged actions listed above. The Plaintiffs do not explain how Finch Boyz actively or willfully

participated in the “chilling” of protected speech. Likewise, there is no allegation that Finch Boyz

had an obligation to protect the Plaintiffs’ first amendment rights.

        The conclusory allegation alone that Finch Boyz “are willful participants acting jointly

with the other defendants in a conspiracy” is not enough to survive a motion to dismiss. Therefore,

the Court should dismiss the Plaintiffs’ Section 1983 First Amendment claim against Finch Boyz.

        C.     Plaintiffs’ Claims of Fourteenth Amendment Denial of Equal Protection Are
               Not Adequately Pled Against Finch Boyz

        In Paragraph 434 of the complaint, Plaintiffs’ allege violations of 42 U.S.C. § 1983 “due

to discrimination on the basis of sex that denied Plaintiffs equal protection under the law in
                                                 13                                        2197466.v1
      Case 3:21-cv-00242-WBV-SDJ                   Document 111-3           11/08/21 Page 14 of 30




violation of the Equal Protection Clause of the Fourteenth Amendment,” and that Finch Boyz was

a “willful participant[s] acting jointly with the other defendants in a conspiracy….” (R. Doc. 22 at

¶ 434). There are no other allegations related to Finch Boyz with respect to the Equal Protection

Clause.

          The Equal Protection Clause prohibits a state from “deny[ing] to any person within its

jurisdiction the equal protection of the laws.” U.S. Const. amend. XIV, § 1. To prevail on a claim

of gender discrimination under the Equal Protection Clause a plaintiff “must allege and prove that

he received treatment different from that received by similarly situated individuals and that the

unequal treatment stemmed from a discriminatory intent.”28 “Discriminatory intent” means “ ‘that

the decision maker singled out a particular group for disparate treatment and selected his course

of action at least in part for the purpose of causing its adverse effect on an identifiable group.’ ”29

          In this case, Plaintiffs allege that LSU and other purported state actors, inter alia,

“discriminated against Plaintiffs on the basis of sex by subjecting them to a hostile environment

and failing to appropriately respond to and investigate reports of sexual misconduct” and that

“female presenting and LGBTQ+ identifying students, like Plaintiffs,” were “intentionally treated

differently than similarly situated non-LGBTQ+ male presenting students for the purposes of

maintaining the school’s popular reputation and soliciting donor funds.” (R. Doc. 22 at ¶¶ 436-

37). Even in these overly generalized allegations, there is no allegation that Finch Boyz acted in

concert or jointly with any other defendant to commit these alleged actions.

          The Amended Complaint does not explain what role Finch Boyz allegedly played in the

denial of equal protection. Plaintiffs’ do not allege that Finch Boyz had the power to subject any

Plaintiff or LSU student in general to a hostile environment. Plaintiffs’ do not allege any facts to


28
   Priester v. Lowndes Cnty., 354 F.3d 414, 424 (5th Cir. 2004) (quoting Taylor v. Johnson, 257 F.3d 470 (5th Cir.
2001)); see also Hinojosa v. Martinez, 53 F.3d 1281 (5th Cir. 1995); Arceneaux on Behalf of Rebekka A. v. Assumption
Par. Sch. Bd., 242 F.Supp.3d 486, 493 (E.D. La.2017).
29
   Id. (quoting Taylor, 257 F.3d at 473).
                                                        14                                               2197466.v1
      Case 3:21-cv-00242-WBV-SDJ                    Document 111-3           11/08/21 Page 15 of 30




support that Finch Boyz played any part or committed any illegal act in agreement with any state

actor to treat “female presenting and LGBTQ+ identifying students” differently than “similarly

situated non-LGBTQ+ male presenting students.” The conclusory allegation that Finch Boyz was

a “willful participant acting jointly with the other defendants in a conspiracy, falls woefully short

of the pleading standard required to survive a Rule 12(b)(6) motion to dismiss.

        D.       Plaintiffs’ Claims of Fourteenth Amendment Denial of Procedural Due
                 Process Are Not Adequately Pled Against Finch Boyz

        In Paragraph 442 of the Amended Complaint, Plaintiffs allege violations of 42 U.S.C. §

1983 “due to deprivation of their property and liberty interests without adequate notice or a

meaningful opportunity to be heard in violation of the Due Process Clause of the Fourteenth

Amendment,” and that Finch Boyz was a “willful participant[s] acting jointly with the other

defendants in a conspiracy, the object of which was understood by all to be the deprivation of

Plaintiffs’ constitutional rights.” (R. Doc. 22 at ¶ 442). There are no other allegations against Finch

Boyz with respect to the Procedural Due Process Clause.

        The Due Process Clause of the Fourteenth Amendment declares that no state shall “deprive

any person of life, liberty, or property, without due process of law.” U.S. Const. amend. XIV. “In

procedural due process claims, the deprivation by state action of a constitutionally protected

interest in ‘life, liberty, or property’ is not in itself unconstitutional; what is unconstitutional is the

deprivation of such an interest without due process of law.”30 “To prevail on a [procedural] due

process claim, plaintiffs must [therefore] show that: (1) they possess a property interest that is

protected by the due process clause, and (2) [the defendant's] procedures are constitutionally

inadequate.”31




30
   Zinermon v. Burch, 494 U.S. 113, 125 (1990) (emphasis in original); Duhon v. Bd. of Supervisors of Louisiana State
Univ. & Agric. & Mech. Coll., CV 20-2022, 2021 WL 3709519, at *5 (E.D. La. Aug. 20, 2021).
31
   Ridgely v. Fed. Emergency Mgmt. Agency, 512 F.3d 727, 734 (5th Cir. 2008).
                                                        15                                                2197466.v1
      Case 3:21-cv-00242-WBV-SDJ                 Document 111-3         11/08/21 Page 16 of 30




        The state action requirement reflects judicial recognition of fact that constitutional rights

are protected only against infringement by the government.32 Therefore, the proper defendants in

a Section 1983 action are those who represent the state in some capacity, whether they act in

accordance with their authority or misuse it. Id. (citing Jojola v. Chavez, 55 F.3d 488, 492 (10th

Cir.1995)).

        Here, it is alleged that “certain Plaintiffs had no opportunity to be heard before being

fraudulently told not to disclose the sexual misconduct,” which “deprived Plaintiffs of their liberty

and property interests in accessing educational opportunities and benefits.” (R. Doc. 22 at ¶ 446).

However, again, Plaintiffs fail to establish a causal connection between said violations of their due

process rights and Finch Boyz.

        There are no allegations that Finch Boyz owed any Plaintiff, any process of any kind.

Plaintiffs do not allege that Finch Boyz instructed anyone to withhold incidents of sexual

misconduct. Plaintiffs do not allege that Finch Boyz had any control over any Title IX

investigation. The mere conclusory allegation that Finch Boyz are “willful participants acting

jointly with the other defendants in a conspiracy” is wholly insufficient.

        E.      Plaintiffs’ Section 1983 Claims Have Prescribed

        Nevertheless, to the extent Plaintiffs’ Section 1983 claims are adequately pled (which they

are not), those claims are prescribed under Louisiana’s one-year prescriptive period. As detailed

herein, the Plaintiffs’ alleged injuries occurred at the earliest Fall of 2014 to the latest January of

2020 (see R. Doc. 22, pages 26-37; pages 37-41; pages 41-43; pages 45-47; pages 48-56; pages

56-65; pages 65-70; pages 70-75; pages 75-77; pages 79-81), and are, thus, prescribed under the

liberative prescriptive period of one year for delictual actions.




32
  Schmidt v. Principal Health Care of Louisiana, Inc., CIV.A. 96-1260, 1996 WL 264990, at *2 (E.D. La. May 16,
1996)(citing United Auto Workers v. Gaston Festivals, Inc., 43 F.3d 902, 906 (4th Cir.1995)).
                                                     16                                            2197466.v1
      Case 3:21-cv-00242-WBV-SDJ                     Document 111-3            11/08/21 Page 17 of 30




           Federal law does not establish a statute of limitations for Section 1983 claims; therefore,

federal courts hearing Section 1983 claims must borrow a relevant statute of limitations from the

forum state. Wallace v. Kato, 549 U.S. 384, 387 (2007); Rodriguez v. Holmes, 963 F.2d 799, 803

(5th Cir. 1992). Section 1983 claims are best characterized as personal injury or delictual actions;

therefore, federal courts borrow the forum state’s law governing the prescription for delictual

actions. Moore v. McDonald, 30 F.3d 616, 620 (5th Cir. 1994). In Louisiana, delictual actions are

subject to a one-year prescriptive period, which runs from the day the injury is sustained. La. Civ.

Code art. 3492.

           For the reasons provided above, because all of the injury causing conduct alleged by the

named Plaintiffs occurred prior to April of 2020, each of the Plaintiffs’ Section 1983 claims against

Finch Boyz were prescribed prior to the filing of the original complaint on April 26, 2021.

VI.        COUNTS IX and XVII – PLAINTIFFS’ CIVIL CONSPIRACY CLAIMS

           A.     Plaintiffs’ Amended Complaint Fails to State a Claim for Conspiracy to
                  Interfere With Civil Rights Against Finch Boyz

           In Count IX, Plaintiffs seek “monetary compensation for past violations of constitutional

rights from the Individual Defendants in their personal capacities, TAF, and Finch Boyz for the

“Conspiracy to Interfere with Civil Rights” under 42 U.S.C. §§ 1985 and 1986. (R. Doc. 22 at ¶

455). This is the only paragraph where Finch Boyz is named under Count IX. In order to plausibly

plead a claim for conspiracy, there must be a claim of a constitutional violation on the part of Finch

Boyz. As established above, Plaintiffs have failed to state a claim for a constitutional violation of

the First and Fourteenth Amendments. For that reason alone, Plaintiffs’ claim for conspiracy

fails.33



33
    Marchman v. Crawford, 237 F.Supp.3d 408, 436 (W.D. La.2017), aff'd, 726 Fed.Appx. 978 (5th
Cir.2018)(“Logically, a plaintiff must state a claim for a constitutional violation to state a claim for a conspiracy to
commit a constitutional violation under Section 1985; thus, the Court’s decision that [plaintiff] has not stated a claim
for a violation of either the First or Fourteenth Amendments means that she has also failed to state a claim under §
                                                          17                                                 2197466.v1
      Case 3:21-cv-00242-WBV-SDJ                     Document 111-3            11/08/21 Page 18 of 30




         To the extent their Section 1983 claims are adequately pled (which they are not), Plaintiffs

may recover under 42 U.S.C. § 1985 if they are injured as a result of a conspiracy to interfere with

civil rights.34 Subsection 3, applicable here, concerns the acts of two or more persons in conspiring

to, deprive any person of certain rights. Id. To state a claim under 42 U.S.C. § 1985(3), Plaintiffs

must allege: (1) a conspiracy involving two or more persons; (2) for the purpose of depriving,

either directly or indirectly, a person or class of persons of the equal protection of laws; and (3) an

act in furtherance of the conspiracy; (4) which causes injury to a person or property, or a

deprivation of any right or privilege of a citizen of the United States.35 Plaintiffs must plead the

operative facts upon which their claim is based. Mere conclusory allegations are insufficient. Equal

specificity is required when a charge of conspiracy is made.36

         By extension, if a plaintiff has not stated a claim for a conspiracy to commit a constitutional

violation under Section 1985, then there can be no claim for a failure to prevent such a conspiracy

under Section 1986.37 In other words, to state a Section 1986 claim, a plaintiff must allege the

existence of a conspiracy under Section 1985.38 Section 1986 provides a cause of action against

one who neglects to prevent a known civil rights conspiracy.39

         Plaintiffs have failed to plead specific facts upon which the charge of conspiracy is based,

have failed to allege facts sufficient to support their conspiracy theory, have failed to allege specific

facts which demonstrate an agreement between Finch Boyz and any other defendant resulting in




1985” citing Farrar v. Bracamondes, 332 F.Supp.2d 1126, 1131 (N.D. Ill. 2004) (when plaintiff has not established
a deprivation of a federal right, he cannot establish a conspiracy to deprive him of a federal right under § 1985)).
34
   Holdiness v. Stroud, 808 F.2d 417, 424–425 (5th Cir.1987).
35
   David v. Signal Int'l, LLC, 37 F.Supp.3d 822, 833–34 (E.D. La.2014) (citing Suttles v. U.S. Postal Serv., 927 F.Supp.
990, 1000–01 (S.D.Tex.1996)); United Bhd. of Carpenters & Joiners of Am. v. Scott, 463 U.S. 825, 828–29, 103 S.Ct.
3352, 77 L.Ed.2d 1049 (1983); Wong v. Stripling, 881 F.2d 200, 202–203 (5th Cir.1989).
36
   Holdiness, 808 F.2d at 424 (citations omitted).
37
   See Miss. Women's Med. Clinic v. McMillan, 866 F.2d 788, 795 (5th Cir. 1989) (stating that the text of § 1986 itself
dictates that there must be a valid § 1985 claim before there can be a valid § 1986 claim).
38
   Rhyce v. Martin, 173 F.Supp.2d 521, 532 (E.D. La.2001), citing Park v. City of Atlanta, 120 F.3d 1157, 1160 (11th
Cir.1997) (“The text of § 1986 requires the existence of a § 1985 conspiracy.”).
39
   Id.
                                                          18                                                 2197466.v1
      Case 3:21-cv-00242-WBV-SDJ                   Document 111-3           11/08/21 Page 19 of 30




the deprivation of Plaintiffs’ rights, have failed to adequately allege a First Amendment retaliation

claim, have failed to allege an equal protection or procedural due process claim, and have failed

to show that Finch Boyz acted in furtherance of any alleged conspiracy. Not a single affirmative

action in furtherance of the purported conspiracy is alleged in the 500+ paragraph Amended

Complaint. Again, the conclusory allegation that the defendants conspired to “permit state actors

to deprive Plaintiffs of Constitutional Rights to Free Speech, Due Process, and Equal Protection;”

and that “[t]he defendants had knowledge that the wrongs conspired were to be committed and,

having the power to prevent or aid in preventing commission of the same, neglected or refused to

do so” (R.Doc. 22 at ¶ 452) cannot withstand a Rule 12(b)(6) motion to dismiss.

        B.       Plaintiffs’ Complaint Fails to State a State Law Claim for Civil Conspiracy
                 Against Finch Boyz

        In Count XVII, Plaintiffs claim that “the Orgeron Defendants”—unlawfully conspired to

violate their civil rights guaranteed by the State of Louisiana under La. C.C. art. 2324.

        There is no general cause of action of civil conspiracy under Louisiana law.40 Instead,

Louisiana Civil Code article 2324 provides in pertinent part: “He who conspires with another

person to commit an intentional or willful act is answerable, in solido, with that person, for the

damage caused by such act.”41 In order to prevail on a claim of civil conspiracy, a plaintiff must

establish a meeting of the minds or collusion between the parties for the purpose of committing a

wrongdoing.42

        The Louisiana Supreme Court has explained that Article 2324 “does not by itself impose

liability for a civil conspiracy,” for “ ‘[t]he actionable element in a claim under this Article is not

the conspiracy itself, but rather the tort which the conspirators agreed to perpetrate and which they



40
   Phillips v. Whittington, 497 F.Supp.3d 122, 167 (W.D. La.2020).
41
   Id., citing La. C.C. art. 2324.
42
   Prime Ins. Co. v. Imperial Fire & Cas. Ins. Co., 2014-0323 (La. App. 4 Cir. 10/1/14), 151 So. 3d 670, 677 (citing
Guidry v. Bank of LaPlace, 94-1758, p.9 (La. App. 4 Cir. 9/15/95), 661 So.2d 1052, 1058).
                                                        19                                               2197466.v1
      Case 3:21-cv-00242-WBV-SDJ                   Document 111-3           11/08/21 Page 20 of 30




actually commit in whole or in part.’ ”43 In other words, a civil conspiracy is simply a means to

impute liability for an underlying tort. See id. To establish the existence of a civil conspiracy, a

plaintiff must show that “an agreement existed to commit an illegal or tortious act, which act was

actually committed, which resulted in the plaintiff's injury, and there was an agreement as to the

intended outcome or result.”44

        In this case, Plaintiffs allege that all defendants conspired “to systematically and

fraudulently silence Plaintiffs and deprive them of their Constitutional and federal rights to protect

the reputation and income of LSU athletics.” The actionable element in a claim under article 2324

is not the conspiracy itself, but rather the tort which the conspirators agreed to perpetrate. Here,

because all of the underlying tort claims addressed above fail as a matter of law, the Plaintiffs also

fail to state a claim of civil conspiracy against Finch Boyz. As previously discussed, Plaintiffs

attempt to assert tort claims against Finch Boyz and fail because they have not plausibly alleged

that Finch Boyz owes them any duty of any kind. As it stands, Plaintiffs merely allege that Finch

Boyz was a party to a conspiracy—nothing more.

        Significantly, the complaint never mentions that Finch Boyz entered into any agreement to

commit an illegal or tortious act; that Finch Boyz actually committed an act; or that any agreement

as to the intended outcome or result existed. Thus, Plaintiffs omit the critical elements of a

conspiracy. In the absence of specific allegations supporting the existence of a conspiracy, Count

XVII is deficient as pled.




43
   Ross v. Conoco, Inc., 828 So.2d 546, 552 (La. 2002) (quoting Butz v. Lynch, 710 So.2d 1171, 1174 (La. App. 1 Cir.
1998)).
44
   Curole v. Delcambre, 224 So.3d 1074, 1082 (La. App. 3 Cir. 2017); Barbe v. Ocwen Loan Servicing, LLC, 383
F.Supp.3d 634, 645–46 (E.D. La.2019); Felder's Collision Parts, Inc. v. Gen. Motors Co., 960 F.Supp.2d 617, 639
(M.D. La.2013).
                                                        20                                               2197466.v1
       Case 3:21-cv-00242-WBV-SDJ                   Document 111-3           11/08/21 Page 21 of 30




          C.     Plaintiffs’ Civil Conspiracy Claims Have Prescribed

          Nevertheless, to the extent Plaintiffs’ conspiracy claims are adequately pled (which they

are not), those claims are prescribed under Louisiana’s one-year tort prescriptive period.

          Like Section 1983, the Fifth Circuit applies the same one-year tort prescriptive period to

Section 1985 claims in Louisiana.45 Additionally, Section 1986 specifically states that actions

brought under that provision must be commenced within one year of when the cause of action has

accrued.46

                 Here, the conspiracy claims asserted in the complaint against Finch Boyz under 42

U.S.C. § 1985 and 1986 and Article 2324 are prescribed and should be dismissed because all of

the injury causing conduct alleged by the Plaintiffs occurred prior to April of 2020—over one year

before the complaint was filed.

VII.      COUNT XIX – PLAINTIFFS’ CIVIL VIOLATIONS OF THE LOUISIANA
          RACKETEERING ACT CLAIM

          In the Amended Complaint, Plaintiffs originally asserted claims under the Federal

Racketeer Influenced and Corrupt Organizations Act (“Federal RICO”) and Louisiana

Racketeering Act, La. R.S. 15:1351 (the “LRA”).47 As the Court is aware, when Plaintiffs were

directed to file their Federal RICO statement, Plaintiffs voluntarily dismissed their Federal RICO

claims.     Plaintiffs represented to the Court that the voluntary dismissal was “based upon

[Plaintiffs’] counsel’s Rule 11 diligence.” (R. Doc. 90, Pg. 5). The dismissal of the Federal RICO

claims was appropriate inasmuch as “RICO was intended to combat organized crime, not to

provide a federal cause of action and treble damages to every tort plaintiff.”48 Indeed, “Congress




45
   Burge v. Parish of St. Tammany, 996 F.2d 786 (5th Cir.1993) (affirming application of one-year prescriptive period
to Section 1985 claim).
46
   See 42 U.S.C. § 1986. Mitchell v. Crescent River Port Pilots Ass'n, 515 F.Supp.2d 666, 674–75 (E.D. La.2007),
aff'd, 265 Fed.Appx. 363 (5th Cir.2008).
47
   Amended Complaint R. Doc. 22, at ¶¶ 535-580.
48
   Oscar v. Univ. Students Co-op. Ass'n, 965 F.2d 783, 786 (9th Cir.1992).
                                                        21                                                2197466.v1
      Case 3:21-cv-00242-WBV-SDJ                     Document 111-3             11/08/21 Page 22 of 30




was concerned in RICO with long-term criminal conduct.”49                           Thus, Plaintiffs attempt to

reconfigure its prescribed tort and 1983 claims into Federal RICO claims was an ill-conceived

strategy and was properly abandoned.

         However, even after determining that their Federal RICO claims could not be asserted

without violation of Rule 11, Plaintiffs continue to pursue their LRA claims which are based

entirely on the same faulty “facts.” The LRA claims are inadequately plead and should be

dismissed. Moreover, Rule 11 sanctions would be appropriate under these circumstances. Even in

their 66 page LRA statement, Plaintiffs do not cure these defective claims but only exacerbate the

inadequate nature of their attempt to invoke the LRA.

         Pertinent here, the LRA is modeled after the Federal RICO Act.50 Therefore, federal

decisions regarding RICO are persuasive when interpreting the LRA.51 Plaintiffs’ LRA claims fail

to satisfy any of requisite elements to state a cause of action.

         A.       Plaintiffs Do Not Allege Sufficient Facts to Support a Finding That Finch
                  Boyz Committed Any “Racketeering Activity”

         The LRA states that “[a]ny person who is injured by reason of any violation of the

provisions of R.S. 15:1353 shall have a cause of action against any person engaged in

racketeering activity who violates a provision of R.S. 15:1353.”52 La. R.S. 15:1356(E). The plain

language of the LRA establishes that one element of civil liability under the LRA is that the

defendant must have engaged in “racketeering activity.”53 The LRA defines “racketeering

activity” as committing, attempting to commit, conspiring to commit, or soliciting, coercing, or



49
   Abraham v. Singh, 480 F.3d 351, 355 (5th Cir. 2007).
50
   Meadaa v. K.A.P. Enterprises, 09-1211 (W.D. La. 12/1/14), 2014 WL 6801636, at *6 (unpublished opinion).
51
   Id. citing State v. Touchet, 99-1416, p. 4 (La. App. 3d Cir. 4/5/00), 759 So.2d 194, 197.
52
   CamSoft Data Sys., Inc. v. S. Elecs. Supply, Inc., 2019-0745 (La. App. 1 Cir. 7/2/19), writ denied, 2019-01228 (La.
11/19/19), 282 So. 3d 1069.
53
   See La. R.S. 15:1356(E); see also, Alack v. Jaybar, Inc., 11-143 (E.D. La. 8/21/12), 2012 WL 13005346, at *6
(citing La. R.S. 15:1356); De la Cruz v. Edwards, 14-1729 (E.D. La. 11/13/15), 2015 WL 6696427, at *6 (“Section
1353 of the [LRA] sets forth the ‘prohibited activities’ under the statute, all of which are premised on the existence of
a pattern of racketeering activity.”).
                                                          22                                                 2197466.v1
         Case 3:21-cv-00242-WBV-SDJ           Document 111-3       11/08/21 Page 23 of 30




intimidating another person to commit any crime which is punishable under one of the listed

criminal provisions. La. R.S. 15:1352(A). In RICO cases, the “racketeering activity” is referred

to as the “predicate acts.”

           Here, Plaintiffs’ LRA Statement identified the purported “Alleged Predicate Acts” as: (1)

public intimidation and retaliation (La. Stat. § 14:122); (2) intimidating, impeding or injuring

witnesses (La. Stat § 14:129.1); (3) Injuring Public Records (La. R.S. §14:132); (4) maintaining

false public records (La. Stat. § 14:133); (5) corrupt influencing (La. Stat. § 14:120) and (6) money

laundering (La. Stat. § 14:230).54 Finch Boyz, however, was only alleged to have been a

“participant” in four (4) of the alleged predicate acts. Even still, the allegations in the LRA

Statement fall critically short as to Finch Boyz.

                    1.      Intimidating Witnesses

           Finch Boyz is alleged in the LRA Statement to have participated in the violation of La.

R.S. 14:129.1, Intimidating Witnesses. The LRA contains a five-page narrative regarding how

certain defendants are alleged to have intimated certain witnesses. Even as to the defendants

identified in the narrative, the allegations fail to adequately allege a violation of the criminal

statute. Moreover, Finch Boyz is not even mentioned and no criminal behavior is attributed to

Finch Boyz. Inclusion of Finch Boyz in this allegation is an overt breach of Rule 11. Finch Boyz

is not alleged to have performed any “racketeering activity.”

                    2.      Injuring Public Records

           In the LRA Statement, Finch Boyz is alleged to have participated in the violation of La.

R.S. 14:132, Injuring Public Records.55 The referenced criminal statue prohibits the “intentional

removal, mutilation, destruction, alteration, falsification, or concealment of any record, document,




54
     LRA, R. Doc. 103, p. 40 of 66.
55
     LRA, R. Doc. 103, p. 47 of 66.
                                                     23                                    2197466.v1
         Case 3:21-cv-00242-WBV-SDJ            Document 111-3       11/08/21 Page 24 of 30




or other thing” either filed in a public office or with a public officer, or defined as a public record

and required to be preserved by the Public Records Law, La. R.S. 44:1, et seq.

           Plaintiffs allege that Orgeron and Finch Boyz, “at a minimum, concealed from public

records John Doe’s rape of Plaintiff Robertson, and John Doe’s Retaliation against Plaintiff

Robertson.” (LRA, pg. 49.) The Plaintiffs have failed to plead the obvious prerequisite for a claim

related to “injuring public records” – the existence of a public record. There is no public record

that is alleged to have been created or ever to have existed associated with this allegation.

Plaintiffs’ claim is more appropriately a failure to create a public record. This is not a violation

of La. R.S. 14:132 and does not constitute racketeering activity. This allegation, again, violates

Rule 11.

                    3.      Money Laundering

           The Plaintiffs have also accused Finch Boyz of Money Laundering pursuant to La. R.S.

14:230 as a predicate act. The instant statute prohibits a person from being involved in any

financial transactions “involving proceeds known to be derived from criminal activity.” Here, all

elements of the claim are deficient. The only allegation pertaining to Finch Boyz is that Finch

Boyz received funds “derived from the Enterprise because…compensation…was directly

connected with the performance of LSU athletics teams….”56 This allegation is self-defeating.

Indeed, if the “compensation” was generated and paid as a result of the performance of LSU

athletic teams, then the proceeds were not “derived from criminal activity.”              Payment of

“compensation” to Finch Boyz pursuant to its contract with LSU is not criminal and does not

constitute a predicate act. The LRA Statement does not adequately identify or detail any money

laundering, and certainly does not allege any action by Finch Boyz that would violate the pertinent

statute.


56
     LRA, R. Doc. 103, p. 55 of 66.
                                                  24                                         2197466.v1
        Case 3:21-cv-00242-WBV-SDJ              Document 111-3      11/08/21 Page 25 of 30




                   4.         Corrupt Influencing

          Finally, Plaintiffs identified Finch Boyz as having violated La. R.S. 14:120, Corrupt

Influencing. “[C]orrupt influencing is the giving or offering to give anything of apparent . . . value

to . . . any person with the intention that the recipient shall corruptly influence the conduct of any

[public employee] in relation to such person’s position, employment or duty.”57 Here, Orgeron and

Finch Boyz, are alleged to have “been paid millions of dollars by LSU and TAF” with the intention

of influencing them. At most, the LRA Statement alleges that Finch Boyz was influenced, not that

Finch Boyz performed the “Corrupt Influencing.” Even if the allegation is accepted as written,

Finch Boyz has not violated La. R.S. §14:120, by receiving funds, as that is not an act addressed

by the pertinent statute.

          Under any of the four purported predicate acts alleged against Finch Boyz, the Amended

Complaint and the LRA Statement fail to adequately plead facts which establish the threshold

element of Finch Boyz “racketeering activity.” Without these allegations, Plaintiffs do not have a

civil cause of action under the LRA against Finch Boyz.

          B.       Plaintiffs Fail to Allege Sufficient Facts to Support a Claim Pursuant to La.
                   R.S. 15:1353 Against Finch Boyz

          Even if the Court were to overlook the lack of “racketeering activity” alleged against Finch

Boyz, the Amended Complaint also fails to satisfy the remaining elements of La. R.S. 15:1353 and

its subparts. Louisiana Rev. Stat. 15:1353, similar to 18 U.S.C.A. § 1962, makes four categories

of conduct illegal.

          First, under the LRA, “[i]t is unlawful for any person who has knowingly received any

proceeds derived, directly or indirectly, from a pattern of racketeering activity to use or invest,

whether directly or indirectly, any part of such proceeds, or the proceeds derived from the



57
     La. Stat. § 14:120(A).
                                                    25                                      2197466.v1
         Case 3:21-cv-00242-WBV-SDJ         Document 111-3        11/08/21 Page 26 of 30




investment or use thereof, in the acquisition of any title to, or any right, interest, or equity in

immovable property or in the establishment or operation of any enterprise.” La. R.S. 15:1353(A).

           In the LRA Statement, Plaintiffs allege that Finch Boyz knowingly received funds

generated by the “Enterprise designed to protect and maximize the future revenue created by

successful athletics programs by, inter alia, violating the rights of Sexual Misconduct victims

through a pattern of racketeering activity,” and that Finch Boyz “used and invested these funds to

operate and further establish the Enterprise through its control of LSU’s football program.”58 No

facts are pled in support of Plaintiffs’ conclusions and generalizations that “Finch Boyz” used and

invested funds in support of a criminal enterprise. These conclusory allegations are wholly absurd

and inadequate to state a cause of action. This is precisely the type of “element” pleading which

Rule 12(b)(6) does not countenance.

           Second, under the LRA, it is also unlawful “for any person, through a pattern of

racketeering activity, knowingly to acquire or maintain, directly or indirectly, any interest in or

control of any enterprise or immovable property.” La. R.S. 15:1353(B). As referenced above, it is

clear that no “racketeering activity” has been alleged against Finch Boyz and certainly no “pattern

of racketeering activity.” Further, it has not been alleged that Finch Boyz exercised any modicum

of control over any “enterprise or immovable property.” Given the limited scope of Finch Boyz

contract with LSU, the notion of such and allegation is wholly implausible. Plaintiffs have failed

to plead a violation of La. R.S. 15:1353(B).

           Third, the LRA makes it unlawful “for any person employed by, or associated with, any

enterprise knowingly to conduct or participate in, directly or indirectly, such enterprise through a

pattern of racketeering activity.” La. R.S. 15:1353(C). In the LRA Statement regarding Subsection




58
     LRA, R. Doc. 103, p. 5 of 66.
                                                26                                        2197466.v1
         Case 3:21-cv-00242-WBV-SDJ                   Document 111-3           11/08/21 Page 27 of 30




(C), Plaintiffs merely recited the statutory language with no factual allegations. This is insufficient

to satisfy Rule 8 or 12(b)(6).

           Lastly, under the LRA, it is unlawful “for any person to conspire or attempt to violate any

of the provisions of Subsections A, B, or C of this Section.” La. R.S. 15:1353(D). RICO contains

similar provisions in 18 U.S.C.A. § 1962.2. In the LRA Statement, Plaintiffs aver that Finch Boyz

conspired, “through its agents” with the other defendants herein to conduct the affairs of the

Enterprise through a pattern of racketeering activity. Here, again, the LRA Statement and the

Amended Complaint only regurgitate the statutory elements of the cause of action without alleging

any substantive facts regarding which unidentified “agent” of Finch Boyz is alleged to have

participated in this vaguely described “conspiracy.” To state a claim for RICO conspiracy, a

plaintiff must “allege specifically such an agreement [to commit predicate acts].” Abraham v.

Singh, 480 F3d 351, 357 (5th Cir. 2007)(citations omitted). Such an allegation must “specifically

[allege] that the Defendants entered into an agreement and that each agreed to commit at least two

predicate acts of racketeering.” Id. Neither the Amended Complaint, nor the LRA Statement meet

this requirement. Here, Plaintiffs’ buzzword pleading is insufficient under every element of the

LRA.

           C.       Plaintiffs lack standing to assert an LRA claim Against Finch Boyz

           The standing provision of the LRA provides “[a]ny person who is injured by reason of any

violation of the provisions of R.S. 15:1353 shall have a cause of action against any person engaged

in racketeering activity who violates a provision of R.S. 15:1353.” However, not every injury to

property is compensable under this section, because “RICO was intended to combat organized

crime, not to provide a cause of action and treble damages to every tort plaintiff.”59 “Injury to mere

expectancy interests or to an ‘intangible property interest’ is not sufficient confer RICO


59
     Oscar v. Univ. Students Co-op. Ass'n, 965 F.2d 783, 786 (9th Cir.1992).
                                                          27                                      2197466.v1
      Case 3:21-cv-00242-WBV-SDJ                     Document 111-3           11/08/21 Page 28 of 30




standing.”60 Thus, an injury to property is “not actionable under RICO unless [it] result[s] in

tangible financial loss to the plaintiff.”61 To sustain a RICO claim, plaintiffs must allege facts that

could show that they sustained “a concrete financial loss, an actual loss of their own money, and

not mere injury to a valuable intangible property interest.”62

         Here, Plaintiffs’ alleged losses are not claims for “tangible financial losses” proximately

caused by any alleged racketeering activity. Rather, Plaintiffs have merely repackaged their tort

and Title IX claims in the hopes of creating LRA liability.

         With regard to causation -- “When a court evaluates a RICO claim for proximate causation,

the central question it must ask is whether the alleged violation led directly to the plaintiff’s

injuries.”63 In other words, in order to state a claim under civil RICO, Plaintiffs must show that a

RICO predicate offense “not only was a ‘but for’ cause of his injury, but was the proximate cause

as well.”64 Here, Finch Boyz has not been alleged to have committed any viable predicate offense

and there can be no “causation.” Regardless, the Amended Complaint and the LRA Statement

never plead any facts which would create a causal connection between Finch Boyz’s actions and

Plaintiffs’ “tangible financial losses” sufficient to satisfy any theory of proximate causation.

         Simply put, Plaintiffs’ LRA Claims should have been voluntarily dismissed along with

their Federal RICO claims. The instant motion to dismiss should be granted and Rule 11 sanctions

should follow.




60
   Price v. Pinnacle Brands, Inc., 138 F.3d 602, 606 (5th Cir.1998).
61
   Id. at 785.
62
   In re Taxable Mun. Bond Sec. Litig., 51 F.3d 518, 523 (5th Cir.1995) (citations omitted); Fuller v. Harrah's Ent.,
Inc., No. CIV.A. 04-2108, 2004 WL 2452771, at *2 (E.D. La. Oct. 29, 2004).
63
   Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 461, 126 S.Ct. 1991, 1998, 164 L.Ed.2d 720, 731 (2006); Holmes
v. Sec. Investor Prot. Corp., 503 U.S. 258, 268, 112 S.Ct. 1311, 117 L.Ed.2d 582 (1992). See also, Waste Mgmt. of
Louisiana, LLC v. River Birch, Inc., 920 F.3d 958, 965 (5th Cir.), cert. denied, 140 S.Ct. 628, 205 L.Ed.2d 390 (2019);
Rezner v. Bayerische Hypo-Und Vereinsbank AG, 630 F.3d 866, 873 (9th Cir. 2010); Jackson v. NAACP, 546 F. Appx.
438, 442 (5th Cir. 2013).
64
   Hemi Group, LLC v. City of New York, N.Y., 559 U.S. 1, 9, 130 S.Ct. 983, 987, 175 L.Ed.2d 943 (2010), citing
Holmes, supra.
                                                         28                                                 2197466.v1
     Case 3:21-cv-00242-WBV-SDJ              Document 111-3        11/08/21 Page 29 of 30




VIII. COUNT XX – PLAINTIFFS’ ENRICHMENT WITHOUT CAUSE CLAIM

       In the Amended Complaint, Plaintiffs plead a claim for enrichment without cause, in the

alternative. This is strictly prohibited by Louisiana law. The existence of another remedy at law

precludes an unjust enrichment claim. In Walters v. MedSouth Record Management, LLC, the

Louisiana Supreme Court held that a plaintiff was precluded from seeking to recover pursuant to

a claim for unjust enrichment because in his original petition he alleged that he had suffered harm

as a “direct result of the negligent and tortious conduct” of the defendant. The court found that it

was of no consequence that the plaintiff’s tort claims had prescribed and held that “[b]ecause the

law provided plaintiff with another remedy,” the plaintiff had failed to state a cause of action for

unjust enrichment. Here, although Plaintiffs have failed to state any other viable claims against

Finch Boyz, it has brought numerous other counts and causes of action. The important question

is whether another remedy is available, not whether the party seeking a remedy will be

successful.65 The Louisiana Supreme Court and Louisiana Circuit Courts of Appeal have held that

the existence of another remedy at law will preclude an unjust enrichment claim. Considering that

Plaintiffs have pled numerous other claims against numerous other Defendants, they have another

remedy at law and as such are precluded from seeking recovery on a claim of unjust enrichment.66

       The Amended Complaint also fails to plead any of the other requisite elements of an unjust

enrichment claim against Finch Boyz. There are five elements to an unjust enrichment claim:

               1.    There must be an enrichment.

               2.    There must be an impoverishment.

               3.    There must be a connection between the enrichment and impoverishment.

               4.    There must be an absence of “justification” or “cause” for the enrichment and
                     impoverishment.


65
    Andretti Sports Mktg. Louisiana, LLC v. NOLA Motorsports Host Comm., Inc., No. CV 15-2167, 2015 WL
13540096, at *7–8 (E.D. La. Dec. 2, 2015).
66
   Id.
                                                 29                                         2197466.v1
      Case 3:21-cv-00242-WBV-SDJ                  Document 111-3           11/08/21 Page 30 of 30




                 5.       The action will only be allowed when there is no other remedy at law.67

        Finch Boyz is not alleged to have received any “enrichment” from Plaintiffs, nor is it

alleged that Finch Boyz caused their alleged “impoverishment.” There is no connection between

any funds paid to Finch Boyz pursuant to its contract with LSU and Plaintiffs’ alleged

impoverishment. Specifically, none of the Plaintiffs paid anything to Finch Boyz and no amounts

paid to Finch Boyz were otherwise due and payable to the Plaintiffs. Thus, there is a justification

for the amounts paid to Finch Boyz. Every element of a cause of action for unjust enrichment is

lacking from the Amended Complaint. Plaintiffs’ alternative unjust enrichment claim should be

dismissed, with prejudice.

IX.     CONCLUSION

        Defendant, “O” The Rosy Finch Boyz, LLC, prays that the Court grant its Motion to

Dismiss, dismissing all claims asserted against it in the Amended Complaint, and as explained in

the LRA Statement.

                                                    Respectfully submitted:

                                                    BREAZEALE, SACHSE & WILSON, L.L.P.
                                                    23rd Floor, One American Place
                                                    Post Office Box 3197
                                                    Baton Rouge, LA 70821-3197
                                                    Telephone (225) 387-4000
                                                    Telecopier (225) 381-8029

                                                    /s/ Carroll Devillier, Jr.
                                                    Carroll Devillier, Jr. (La. Bar Roll #30477)
                                                    carroll.devillier@bswllp.com
                                                    David M. Charlton (La. Bar Roll #1759)
                                                    david.charlton@bswllp.com

                                                    Attorneys for “O” The Rosy Finch Boyz




67
  Louisiana Workers’ Compensation v. The Hartford And/or The Hartford Life Insurance Company, 616 F. Supp. 2d
608 (M.D. La. 2008), citing Minyard v. Curtis Products, Inc., 205 So.2d 422, 433, (La. 1967); Edwards v. Conforto,
636 So.2d 901 (La. 1993); La. C.C. Article 2298.
                                                       30                                              2197466.v1
